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 9
                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11

12 NEMAN BROTHERS & ASSOC.,                  Case No: 2:20-cv-11181-CAS (JPRx)
     INC., a California corporation;
13
                 Plaintiff,                  Scheduling Conference: April 19, 2021
14                                           Time:      11:00 A.M.
                    vs.                      Judge: Honorable Christina A. Snyder
15
     INTERFOCUS, INC. d.b.a.
16 www.patpat.com, a Delaware
     Corporation; CAN WANG; an
17 individual; and DOES 1-10, inclusive,

18               Defendants.
19
20         By and through their attorneys of record, Plaintiff Neman Brothers & Assoc.,
21 Inc. (“Plaintiff”) and Defendant InterFocus, Inc. d.b.a. www.patpat.com
                 1
22 (“InterFocus”) hereby submit this Rule 26(f) Joint Scheduling Report following the
23 conference of counsel required by Rule 26(f) of the Federal Rules of Civil Procedure

24 and Central District Local Rule 26-1.

25
                                                                                            서식 지정함: 글꼴: 14 pt
26
                                                                                            서식 지정함: 글꼴: 14 pt
27  Individual Can Wang is also named as a defendant in this action, but is not a part of
     1
                                                                                            서식 지정함: 글꼴: 14 pt
   this joint statement. InterFocus is informed and believes that Can Wang resides in
                                                                                            서식 지정함: 글꼴: 14 pt
28 the People’s Republic of China and has not been served with summons and complaint
   herein.                                                                                  서식 지정함: 글꼴: 14 pt
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 1
 2 1.     STATEMENTS OF THE CASE
 3        A.     Plaintiff’s Statement of the Case.
 4        This action arises under the Copyright Act of 1976, Title 17 U.S.C. § 101 et
 5 seq. NEMAN BROTHERS & ASSOC., INC. (“Plaintiff”) is a corporation organized

 6 and existing under the laws of the State of California with its principal place of

 7 business in the County of Los Angeles. Plaintiff is the owner and author of certain
 8 two-dimensional artworks (“Subject Designs”). The action was filed on December 9,

 9 2020, and Plaintiff filed an amended complaint on January 5, 2021.

10        The key legal issue is whether the Defendants directly and vicariously
11 infringed Plaintiff’s Subject Designs.

12        B.      InterFocus’s Statement of the Case
13        Plaintiff’s pursuit of the present action breaches a settlement agreement it
14 previously entered into with Defendant InterFocus, Inc. (“InterFocus”). This action

15 should be dismissed and Plaintiff should pay InterFocus damages for its breach as

16 described in the Counterclaim on file herein (See Dkt. No. 18.)
17        Plaintiff previously filed suit against InterFocus alleging copyright
18 infringement of certain fabric patterns in items of clothing in that certain action

19 entitled Neman Brothers & Assoc., Inc. v. InterFocus, Inc., Case No. 2:19-CV 10112
20 JAK-AGR. Plaintiff settled that action with InterFocus by agreeing, inter alia, to: 1)

21 release InterFocus from liability for all then-existing alleged copyright infringement

22 claims, and 2) allow InterFocus to “cure” and thereby avoid liability for any alleged
23 future infringement by stopping sales within seven days of receipt from Plaintiff of a

24 required written notification.

25        In September 2020, Plaintiff sent such a written notice claiming that InterFocus
26 had infringed Plaintiff’s copyrighted fabric designs as used in six garments.

27 InterFocus in fact either (i) had already been released from liability for three of the

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 1 garments complained of in that letter by the previous settlement agreement, because
 2 InterFocus had stopped sales of them before entry into that agreement, or (ii) stopped

 3 sales of the other garments within seven days of receipt of Plaintiff’s notice, thereby

 4 “curing” the alleged infringement as provided in the previous settlement agreement
 5 and contractually eliminating InterFocus’ liability for such sales.

 6         Plaintiff nevertheless filed this action alleging infringement of the garments
 7 attached as exhibits to its Amended Complaint. However, all of those alleged
 8 infringement either a) were garments InterFocus had stopped selling before entry into

 9 the previous settlement agreement as described above; b) were garments InterFocus

10 stopped selling within seven days of Plaintiff’s September 2020 letter as described
11 above, or c) were fabric patterns and garments for which Neman Brothers had never

12 sent written notification as required by the previous settlement agreement. Treating

13 Neman Brother’s Complaint and Amended Complaint as a written notification
14 described in the previous settlement agreement, InterFocus stopped such sales within

15 seven days of being served with the relevant pleadings. InterFocus therefore either

16 has no liability for or has “cured” itself of all of the infringement alleged in the
17 Amended Complaint as provided in the previous settlement agreement, and

18 contractually eliminating InterFocus’s liability for such sales.

19         The key issues in this case therefore are 1) whether Plaintiff’s actions herein
20 breach its previous settlement agreement with InterFocus, and 2) if so, how much in

21 damages Plaintiff should pay InterFocus for its breaches of that settlement agreement.

22
23 2.      SUBJECT MATTER JURISDICTION
24         This Court has subject matter jurisdiction of this matter pursuant to 28 U.S.C.
25 §§ 1331 and 1338, and has supplemental jurisdiction over InterFocus’s breach of
26 contract counterclaim.

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 1 3.      KEY LEGAL ISSUES
 2         The key legal issues include:
 3         a.     The validity of Plaintiff’s copyright.
 4         b.     Whether Defendants accessed the Subject Design.
 5         c.     Whether any protectable elements of Plaintiff’s copyright has been
 6      infringed.
 7         d.     If there is infringement, what damages, if any, Plaintiff is entitled to.
 8         e.     Whether Plaintiff’s present copyright infringement claims are barred by
 9         the settlement agreement Plaintiff previously entered into with InterFocus.
10         f.     Whether the fabric designs for which Plaintiff claims copyright
11       infringement are sufficiently original to qualify for copyright protection.
12         g.     Whether the Defendants have any other cognizable defenses to copyright
13       infringement.
14

15 4.      RANGE OF PROBABLE DAMAGES
16         Plaintiff’s Contentions
17         Plaintiff cannot state a specific damage amount at this time as it has not yet
18 obtained Defendant’s documents showing the quantity of products produced,

19 marketed, and sold by Defendants, and the amount of profits and costs that were
20 incurred. After finishing discovery, Plaintiff will seek general/special damages,

21 including disgorgement of profits, market damage, and/or statutory damages, as well

22 as other damages the court may deem proper such as litigation costs, punitive
23 damages, and permanent injunction.

24
           InterFocus’s Contentions
25
            InterFocus contends that Plaintff has incurred no cognizable damages in this
26
     action, while InterFocus has and is being damages because of Plaintiff’s breach of the
27
     previous settlement agreement InterFocus cannot state the specific damage amount at
28
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 1 this time as its damages are ongoing and increasing as this case proceeds. InterFocus
 2 will seek all compensatory, general, special and consequential damages caused by

 3 Plaintff’s breach, disgorgement of the sums InterFocus previously paid in settlement

 4 of the previous action, and any and all other damages the court may deem proper such
 5 as litigation costs, punitive damages, and permanent injunction.

 6 5. LIKELIHOOD OF APPEARANCE OF ADDITIONAL PARTIES

 7        Discovery may reveal additional parties and Plaintiff may seek to amend its
 8 complaint to add such parties.

 9

10 6. MANUAL FOR COMPLEX LITIGATION
11        The parties do not anticipate needing to rely upon the manual for complex
12 litigation.

13
14 7.     DISCOVERY
15         Plaintiff propounded written discovery requests, and InterFocus anticipates
16 propounding written discovery shortly. The parties will serve initial disclosures by
17 April, 12 2021..

18        The parties do not believe that any changes in the disclosures under Rule
19 26(a)(1) should be made. The parties do not believe that discovery should be
20 conducted in phases, or otherwise be limited. The parties believe that the Federal

21 Rules of Civil Procedure should apply with respect to the limitations and procedures

22 for written discovery, fact depositions, and expert depositions.
23        The anticipated deponents include the parties, the timing of which has yet to be
24 decided. The parties anticipate written discovery requests, including requests for

25 admission, document requests, and interrogatories pertaining to the facts surrounding
26 the key legal issues identified above.

27         InterFocus anticipates complying with its initial disclosure obligations.
28 InterFocus notes that certain third-party witnesses are located in the People’s
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 1 Republic of China, which may affect their availability for deposition.
 2

 3         The parties do anticipate this case will involve the discovery of confidential
 4 commercial information and therefore intend to seek a Protective Order to address the
 5 parties’ respective claims of confidentiality and trade secrets with respect to

 6 documents and information that they anticipate will be sought by way of discovery.

 7
 8 8. EXPERT DISCOVERY

 9         Plaintiff does not presently anticipate utilizing expert witnesses, but reserves
10 the right to do so.
11         InterFocus reserves the right to utilize expert witnesses to testify, inter alia, on
12 the lack of originality in Plaintiff’s copyrighted designs, on the damages InterFocus

13 has suffered and is suffering as a result of Plaintiff’s breach of the previous
14 Settlement Agreement, and on other issues.

15

16
17 9.      TIMETABLE
18                               Plaintiff’s Proposed Dates     Defendant’s Proposed Dates
19 Trial                         February 22, 2022               Same
20 Pre-trial conference          February 8, 2022                Same
21 Last Day to file a motion     May 31, 2021                    Same
22 to add claims or parties
23 Discovery Cut-Off             November 30, 2021               Same
24 Last day to file Motions      January 10, 2022                Same
25 Opening Expert                September 30, 2021              Same
26 Disclosures

27
     Expert Rebuttal             October 31, 2021                Same
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 1 Disclosure:
 2 Expert Discovery cut-off      November 30, 2021              Same
 3 Mediation cut-off             July 31, 2021                  Same
 4
 5 10.     CONTEMPLATED MOTIONS
 6         Plaintiff anticipates filing a Motion for Summary Judgment on the issue of the
 7 liability of Defendants for copyright infringement, based upon its assertions that (a)
 8 Plaintiff owns a valid copyright in the Subject Design, and (b) Defendants were found

 9 to be producing, manufacturing, distributing, and/or offering for sale garments that

10 bore a design virtually identical to Plaintiff’s copyrighted design.
11         As to the portions in the complaint that Interfocus contends to be procedurally
12 improper due to lack of attempts to settle before filing, Plaintiff is willing to take out

13 from the complaint, and re-file the said portion if the settlement discussion does not
14 resolve the relevant portions of the claim.

15         InterFocus anticipates moving for partial summary judgment of liability on its
16 breach of contract counterclaim on file herein, and reserves the right to move for
17 summary judgment on the validity of Plaintiff’s alleged copyrightsand other related

18 issues.

19
20 11.     PROSPECTS OF SETTLEMENT
21         The parties are discussing preliminary settlement. To the extent that a
22 settlement is not reached, Plaintiff and Defendants are amenable to ADR Procedure
23 #2—the parties have agreed to Caroline Vincent of ADR as a mediator. The parties

24 agree that mediation in this case shall be completed no later than 45 days prior to the

25 final pretrial conference, consistent with Civil L.R. 16-12.5.
26

27 12.     TRIAL
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 1         At present, the parties anticipate a jury trial. Plaintiff anticipates the trial will
 2 last 3-5 days, while Defendant anticipates the trial will last 4-6 days.. The Plaintiff

 3 will call 1-3 witnesses and InterFocus anticipates calling 4-6 witnesses.

 4
 5 Respectfully submitted,

 6

 7 Dated: April 9, 2021
 8
                                             /s/Chan Yong Jeong
 9                                           Chan Yong Jeong
10                                           JEONG & LIKENS, L.C.
                                             Attorney for Plaintiff
11

12

13 Dated: April 9, 2021
14                                           /s/Mark S. Lee
15                                           Mark S. Lee
                                             Rimon, P.C.
16                                           Attorney for InterFocus, Inc.
17

18

19
           I hereby attest that all signatories listed above, on whose behalf this notice is
20
     being submitted, concur in the filing’s content and have authorized the filing.
21
     Dated: April 9, 2021
22
23                                           /s/Chan Yong Jeong
                                             Chan Yong Jeong
24
                                             JEONG & LIKENS, L.C.
25                                           Attorney for Plaintiff
26

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